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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        *
                                                *
               v.                               *
                                                *
MICHAEL J. GURRY, RICHARD M.                    *     Criminal Action No. 16-cr-10343-ADB
SIMON, SUNRISE LEE, JOSEPH A.                   *
ROWAN, and JOHN KAPOOR,                         *
                                                *
               Defendants.                      *

     MEMORANDUM AND ORDER ON DEFENDANTS’ MOTION TO COMPEL
             PRODUCTION OF GRAND JURY MATERIALS

BURROUGHS, D.J.

       Currently pending before the Court is Defendants’ motion to compel disclosure of the

legal instructions the Government provided to the grand jury. [ECF No. 547]. For the reasons

stated below, the motion is DENIED.

I.     BACKGROUND

       A.     The Indictment

       On September 11, 2018, a grand jury returned the Second Superseding Indictment

(“SSI”) against Defendants Michael Babich, Alec Burlakoff, Michael Gurry, Richard Simon,

Sunrise Lee, Joseph Rowan, and John Kapoor, charging them with engaging in a racketeering

conspiracy in violation of 18 U.S.C. § 1962(d). [ECF No. 419].

       The following allegations are drawn from the SSI. [ECF No. 419]. The Defendants held

executive management positions at Insys Therapeutics, Incorporated (“Insys”), a pharmaceutical

company that manufactured, marketed, and sold a fentanyl spray called Subsys. [ECF No. 419

¶¶ 16–22]. Insys constitutes the enterprise underlying the RICO conspiracy. [Id. ¶ 1]. From

about May 2012 through about December 2015, the Defendants and their co-conspirators sought
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to increase profits for the enterprise and for themselves by conducting the affairs of the

enterprise including through bribes, fraud, and the illicit distribution of Subsys in violation of 18

U.S.C. § 1962(d). [Id. ¶¶ 23, 26]. As part of the conspiracy, Defendants and their co-

conspirators agreed that a co-conspirator would commit at least two acts of racketeering activity,

including mail fraud, wire fraud, honest services fraud, and offenses involving the distribution of

controlled substances. [Id. ¶¶ 24–25].

        A.         Defendants’ Motion

        Defendants argue that allegations omitted from the SSI demonstrate that the prosecution

improperly instructed the grand jury either on the law regarding the alleged predicate crimes or

on the law of RICO conspiracy generally. [ECF No. 548 at 1]. They believe that they should be

able to review the Government’s legal instructions to determine if these contentions have merit.

[Id. at 2, 4–5].

        Defendants make three arguments about the omitted allegations. First, they contend that

the SSI fails to allege “that Defendants agreed with alleged co-conspirator practitioners to divert

Subsys for the purpose of non-medical or ‘street’ usage” [id. at 6] and that such an omission

indicates that the Government “misunderstand[s] . . . the proof needed to show a [Controlled

Substances Act (“CSA”)] violation” and consequently “erroneously instructed the grand jury on

the elements of a CSA violation” [id. at 7]. Second, Defendants argue that the SSI does not

allege “the source of the fiduciary duty” underlying the honest services fraud claims [id. at 8] or

“that Defendants intended for practitioners to deceive anyone” [id. at 9] and that such omissions

suggest that the Government gave the grand jury incorrect instructions regarding honest services

fraud. Third, Defendants assert that the SSI fails to aver “that Defendants agreed for anyone to

affirmatively lie to insurance companies about the financial arrangement between Insys and




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practitioners, or that anyone at Insys concealed that information from insurers” [id. at 10] and

that such omissions imply that “prosecutors misinstructed the grand jury that an omission

without more can constitute a scheme to defraud” [id. 9–10].

       B.      Government’s Opposition

       The Government responds that the SSI is legally sufficient and that Defendants have not

met their burden of showing a particularized need that would justify production of the legal

instructions to the grand jury. [ECF No. 611 at 1–2]. Specifically, the Government argues that

the SSI is “facially valid because it pleads the elements of RICO conspiracy” [id. at 6–7] and that

such elements do not include an agreement by Defendants “that a conspirator would commit

each of the specified types of racketeering acts” [id. at 8–10] or “that some conspirator commit

each element of those offenses” [id. at 10 (internal quotations omitted)]. The Government also

contends that it “was not required to allege the elements of the predicate racketeering acts in the

indictment” and that such an omission does not indicate that the grand jury was improperly

instructed regarding those predicate crimes. [Id. at 11–12].

II.    DISCUSSION

       A.      Legal Standard

       Federal Rule of Criminal Procedure 6(e) imposes an absolute obligation of secrecy

regarding grand jury proceedings, with some very limited exceptions. Fed. R. Crim. P. 6(e).

One of these exceptions provides that the court “may authorize disclosure . . . of a grand jury

matter . . . at the request of a defendant who shows that a ground may exist to dismiss the

indictment because of a matter that occurred before the grand jury.” Id. 6(e)(3)(E)(ii).

       “The Supreme Court has repeatedly recognized the importance of secrecy in grand jury

proceedings even after . . . the grand jury has concluded its function.” United States v.




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McMahon, 938 F.2d 1501, 1504 (1st Cir. 1991) (citing Douglas Oil Co. v. Petrol Stops Nw., 441

U.S. 211, 222 (1979)). The Court has further accepted that “the proper functioning of our grand

jury system depends upon the secrecy of grand jury proceedings.” Douglas Oil, 441 U.S. at 218.

       The party requesting access to grand jury materials bears the burden of demonstrating a

“particularized need” for the materials. United States v. George, 839 F. Supp. 2d 430, 437 (D.

Mass. 2012). Specifically, a party seeking grand jury materials under Rule 6(e) must show: “that

the material they seek is needed to avoid a possible injustice in another judicial proceeding, that

the need for disclosure is greater than the need for continued secrecy, and that their request is

structured to cover only material so needed.” Douglas Oil, 441 U.S. at 222. Speculative

allegations of impropriety are not sufficient to meet this burden; rather, the requesting party must

establish that “particularized and factually based grounds exist to support the proposition that

irregularities in grand jury proceedings may create a basis for dismissal of an indictment.”

United States v. Rodriguez-Torres, 570 F. Supp. 2d 237, 242 (D. P.R. 2008).

       B.      Analysis

       Applying the foregoing principles here counsels against requiring production of the legal

instructions to the grand jury because Defendants’ arguments do not rise beyond the level of

“mere speculation” and do not set out the “particularized need” necessary to justify disclosure.

See George, 839 F. Supp. 2d at 437; Rodriguez-Torres, 570 F. Supp. 2d at 242. While

Defendants have structured their request to cover only material needed and the considerations

justifying secrecy are less relevant given the material requested 1 and the prior production of



1
 As this Court has stated previously, “[l]egal instructions provided by prosecutors do not
implicate any of the concerns cited in support of grand jury secrecy.” United States v.
Facteau, No. 1:15-cr-10076-ADB, 2016 WL 4445741, at *4 (D. Mass. Aug. 22, 2016).
There may be cases where production of the grand jury legal instructions during the
discovery process will be warranted “[g]iven the length of time that it takes a case to get


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“all—or nearly all—of the underlying grand jury testimony” [ECF No. 548 at 2], Defendants fail

to meet their burden in showing “that the material they seek is needed to avoid a possible

injustice in another judicial proceeding.” See Douglas Oil, 441 U.S. at 222.

       Defendants focus their argument on the perceived shortcomings of the SSI, which they

also catalog in their motion to dismiss [ECF No. 514]. They do not identify any line of

questioning before the grand jury that was improper or any statements by the Government to the

grand jury that incorrectly stated the law. See United States v. Stevens, 771 F. Supp. 2d 556, 567

(D. Md. 2011) (allowing production of grand jury instructions where transcripts showed a

discussion between a grand juror and the prosecution that left “little doubt that the instruction

given the grand jury . . . was erroneous”).

       As described more fully in the Order denying Defendants’ motion to dismiss, Defendants

premise their allegations concerning the SSI on the incorrect legal argument that an indictment

for a RICO conspiracy under 18 U.S.C. § 1962(d) must allege that Defendants agreed and

intended that they or a co-conspirator would commit each underlying element of the predicate

crimes. [ECF No. 682 at 6–7]. Defendants argue that the SSI fails to allege: “that Defendants

agreed with alleged co-conspirator practitioners to divert Subsys for the purpose of non-medical

or ‘street’ usage” [ECF No. 548 at 6]; “the source of the fiduciary duty” underlying the honest

services fraud claims [id. at 8]; “that Defendants intended for practitioners to deceive anyone”

[id. at 9]; or “that Defendants agreed for anyone to affirmatively lie to insurance companies

about the financial arrangement between Insys and practitioners, or that anyone at Insys

concealed that information from insurers” [id. at 10]. None of these allegations is required for


to trial, the stigma and harm done to a defendant simply by virtue of being indicted, even
if later acquitted, and the largely unfettered power of the grand jury.” Id. at *5. Here,
however, where there is a facially valid indictment, no showing of particularized harm,
and with trial less than two weeks away, there is no basis for requiring their disclosure.


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 the SSI to be legally sufficient [ECF No. 682 at 6–7], and their absence does not imply that the

 legal instructions provided to the grand jury were incorrect.

         In addition, the SSI fairly and correctly states each required element of the crime of

 RICO conspiracy. [ECF No. 682 at 4–9]. Where the SSI is facially valid and Defendants’

 claims do not justify dismissal of the SSI, Defendants have not established the requisite

 particularized need to justify disclosure of the grand jury instructions. United States v. Singhal,

 876 F. Supp. 2d 82, 99 (D.D.C. 2012); see George, 839 F. Supp. 2d at 437 (denying request for

 production of grand jury legal instructions where “the plain words of the . . . charge were

 sufficient to apprise the [grand] jury of the necessary legal elements . . . .”); see also Costello v.

 United States, 350 U.S. 359, 363 (1956) (“An indictment returned by a legally constituted and

 unbiased jury, . . . if valid on its face, is enough to call for trial of the charge on the merits.”).

III.     CONCLUSION

         For the foregoing reasons, Defendants’ motion to compel [ECF No. 547] is DENIED.

         SO ORDERED.

 January 17, 2019                                                 /s/ Allison D. Burroughs
                                                                  ALLISON D. BURROUGHS
                                                                  U.S. DISTRICT JUDGE




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